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              IN THE UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

BAYLESS PROPERTY GROUP,        *
LLC                            *
                               *
          Debtor.              *
_______________________________*
                               *
QUICK RESPONSE FORCE,          *        CIVIL ACTION FILE
LLC and JOSHUA BROWN,          *
                               *        NO.: 1:21-cv-02788-JPB
          Plaintiffs           *
                               *
vs.                            *
                               *
BAYLESS PROPERTY GROUP, *               CHAPTER 11
LLC and TAMARA RIDINGS,        *        CASE NO.: 20-66871-jrs
                               *        ADVERSARY PROCEEDING
                               *        NO.: 20-06172
          Defendants.          *

        MEMORANDUM OF LAW IN SUPPORT OF APPEAL
   FROM DENIAL OF MOTION FOR LEAVE TO LATE FILE APPEAL
          PURSUANT TO FED. R. BANK. P. 8002(d)(1)(B)

     COMES NOW, QUICK RESPONSE FORCE, LLC (QRF) and JOSHUA

BROWN (BROWN), Appellants/Plaintiffs in the above-styled Adversary

Proceeding, and file this their MEMORANDUM OF LAW IN SUPPORT OF

APPEAL FROM DENIAL OF MOTION FOR LEAVE TO LATE FILE APPEAL

PURSUANT TO FED. R. BANK. P. 8002(d)(1)(B) against BAYLESS

PROPERTY GROUP, LLC (BAYLESS) and TAMARA RIDINGS (RIDINGS),
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Defendants in the above-styled adversary proceeding. Appellants/Plaintiffs hereby

show the Court, as follows:

(1) CORPORATE DISCLOSURE/RULE 8012 STATEMENT: The

     Appellant’s corporate disclosure statement is as follows: A) Appellant QUICK

     RESPONSE FORCE, LLC is a single member limited liability company

     owned by Co-Plaintiff, JOSHUA BROWN; and B) DEBTOR, BAYLESS

     PROPERTY GROUP, LLC to the best of the Appellant’s knowledge and

     belief is wholly owned by Non-Debtor, TAMARA RIDINGS.

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(3) TABLE OF AUTHORITIES:

1. 28 U.S.C. [section] 1334(b)

2. Carter v. Rodgers, 220 F.3d 1249, 1253 (11th Cir. 2000)
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3. Fed. R. Bankr. P. 8002(a)

4. Fed. R. Bankr. P. 8002(d)(1)(B)

5. Fed. R. Bankr. P. 8003.

6. Fed.Rules Civ.Proc.Rule 15(a), 28 U.S.C.A.

7. 11 U.S.C.§ 349

(4)   JURISDICTIONAL STATEMENTS:

      (A) the basis for the bankruptcy court’s subject matter jurisdiction arises

from the Chapter 11 bankruptcy filing by the Debtor BAYLESS with the removal

of the pending state court claims of the Plaintiffs, QRF and BROWN against the

Debtor BAYLESS and Non-Debtor RIDINGS for the bankruptcy court’s

determination of the claims of the Plaintiffs in an adversary proceeding. (“A

proceeding is within the bankruptcy jurisdiction, defined by 28 U.S.C. [section]

1334(b), if it ‘arises under’ the Bankruptcy Code or ‘arises in’ or is ‘related to’ a

case under the Code.” Carter v. Rodgers, 220 F.3d 1249, 1253 (11th Cir. 2000).

      (B) The district court’s has jurisdiction over the appeal pursuant to 28 U.S.C.

§ 158(a)(1).

      (C) The bankruptcy court’s order denying the Plaintiffs’ Motion for Leave to

Late File was filed on June 28, 2021 and the Plaintiffs’ Notice of Appeal of the

denial order was filed on July 12, 2021.

      (D) The Appellants/Plaintiffs’ appeal is from the bankruptcy court’s denial of

the Plaintiffs’ Motion for Leave to Late File an Appeal of the bankruptcy court’s
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May 10, 2021 order granting Debtor BAYLESS Summary Judgment on all claims

pending in the adversary proceeding against Debtor BAYLESS of the Plaintiffs in

the adversary proceeding;

(5) STATEMENT OF ISSUES:

A. The Bankruptcy Court applied the incorrect standard of review for the alleged

    Excusable Neglect of the Plaintiff’s counsel in not filing an Appeal of the

    Summary Judgment within the initial 14 days allowed under the Bankruptcy

    Rules of Procedure. This Issue is withdrawn.

B. The bankruptcy court improperly denied the Plaintiffs’ Motion for Leave to

    Late File by failing to address the deficiencies created by the language within

    the footnote No. 7 on page 10 of the bankruptcy court’s Summary Judgment

    order.

C. The Bankruptcy Court erred when its failed to Amend its Order Granting

Summary Judgment [32] to Debtor BAYLESS as the Bankruptcy Court

acknowledged during the hearing on the Plaintiff’s Motion for Leave to Late File

Appeal that the Bankruptcy Court ordered the adversary proceeding closed without

having first sought the District Court’s determination of the viability of the non-

core and still pending claims of the Plaintiffs against Non-Debtor RIDINGS.

D. The Bankruptcy Court further erred in filing to Amend its order [33] closing the

adversary proceeding without having first addressed whether or not it had

jurisdiction over the Non-Debtor RIDINGS’ counter-claims against the Plaintiffs
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(6) STATEMENT OF THE CASE:

      The above-styled matter was initiated as Chapter 11 bankruptcy proceeding

by BAYLESS PROPERTY GROUP, LLC (Debtor BAYLESS) in the United States

Bankruptcy Court, Northern District of Georgia, Case No.: 20-66871-jrs and next

Debtor BAYLESS along with Co-Defendant, TAMARA RIDINGS (RIDINGS)

removed that certain lawsuit styled QUICK RESPONSE FORCE, LLC and

JOSHUA BROWN, Plaintiffs vs. BAYLESS PROPERTY GROUP, LLC and

TAMARA RIDINGS, Defendants; Cobb County Superior Court, CAFN: 18105805

to the U.S. Bankruptcy Court, Northern District of Georgia; and, the Adversary

Proceeding was assigned Case No.: 20-06172.

      After the Debtor BAYLESS filed its Motion for Summary Judgment, the

bankruptcy court granted the Debtor judgment against all claims of the Appellants/

Plaintiffs in that certain Order, dated May 10, 2021; pursuant to Fed. R. Bankr. P.

8002(a) the Appellants/Plaintiffs had 14 days from the date of such order to file

their appeal to the district court. The Appellants/Plaintiff instead waited until June

14, 2021 to file their Motion for Leave Late File an Appeal [3][1] pursuant to Fed.

R. Bankr. P. 8002(d)(1)(B) and the undersigned counsel filed his declaration in

support thereof. The bankruptcy court held a hearing on June 24, 2021 and issued

its order denying such Motion for Leave to Late File as unfounded on June 28,

2021. This appeal was filed on July 12, 2021and this filing was within the 14 days
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allowed for the filing of an Appeal [1] from the bankruptcy court’s denial of the

Motion for Leave to Late File an Appeal. Fed. R. Bankr. P. 8003.

(7) SUMMARY OF ARGUMENT:

A. Issue A. has been withdrawn.

B. The undersigned counsel’s confusion was generated or caused by the language

of the bankruptcy court’s footnote 7 to its summary judgment order and in

recognition of the premature closing of the adversarial proceeding to address the

issues referenced and expanded upon by the bankruptcy court the order denying

the Motion for Leave to Appeal should be reversed.

C. The bankruptcy court closed the adversarial proceeding without addressing the

issue referenced in footnote 7 which the Appellants/Plaintiffs’ undersigned counsel

has identified as causing, in part, his confusion and delay in filing an appeal of the

underlying order.

D. The bankruptcy court also failed to address with the closing of the bankruptcy

case the claims of Co-Defendant RIDINGS still pending against the Appellants/

Plaintiffs and this Issue should also be resolved with the reversal/remand with

direction and amendment of the order of May 10, 2021.

(8) ARGUMENT:

A. The district court’s review of the bankruptcy court’s Order denying the

Plaintiffs’ Motion for leave to late file is for a clear abuse of discretion. Fed.Rules

Civ.Proc.Rule 15(a), 28 U.S.C.A. Note: The Appellants/Plaintiffs withdraw this
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Issue as the standard of review was not incorrect - instead the Appellants/Plaintiff

refer the district court to its argument and authorities in Issues. B. - D. herein and

below.

B. The district court’s review of the bankruptcy court’s Order denying the

Plaintiffs’ Motion for leave to late file is for a clear abuse of discretion. Fed.Rules

Civ.Proc.Rule 15(a), 28 U.S.C.A. Note: The Appellants/Plaintiffs withdraw this

Issue as the undersigned attorney’s mistake in erroneously interpreting the meaning

of the Court’s footnoted language was his mistake in not having sooner sought the

bankruptcy court’s clarification.

C. The bankruptcy court, in the course of the conduct of the hearing on the

Plaintiff’s Motion, informed Appellant’s undersigned counsel that it intended on

forwarding the issue referenced in footnote 7 on page 10 of its order to the district

court for resolution. The adversary proceeding was closed by the bankruptcy

court’s order granting summary judgment on May 10, 2021 as the Clerk closed the

adversary proceeding on 6/9/21.(U.S. District Court Clerk’s Docket - last entry.). It

is the Plaintiffs’ contention that the bankruptcy court should have instead issued an

order amending its summary judgment order of May 10, 2021 to have addressed

the issue of the determination of the non-core claims of the Plaintiffs against

RIDINGS and for this reason the order should be reversed and/or remanded with

direction after the district court completes its review as referenced by the
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bankruptcy court in addressing the undersigned during the course of the hearing on

the Motion for Leave to File a Late Appeal.

      Pursuant to the 11th. Circuit Court of Appeals ruling in the Carter v. Rogers

case, as cited to herein and above, the “dismissal of an underlying bankruptcy case

does not automatically strip a federal court of jurisdiction over an adversary

proceeding which was related to the bankruptcy case at the time of its

commencement.”( Citation omitted.) “Although dismissal of the bankruptcy case

usually results in dismissal of all remaining adversary proceedings 11 U.S.C.§ 349

gives the bankruptcy court the power to alter the normal effects of the dismissal of

a bankruptcy case if cause is shown.” Id. at 1535. A bankruptcy court considers

three factors in determining whether to retain jurisdiction over an adversary

proceeding: “(1) judicial economy; (2) fairness and convenience to the litigants;

and (3) the degree of difficulty of the related legal issues involved.” Id.

      The decision on whether to retain jurisdiction over a pending adversary

proceeding is “left to the sound discretion of the bankruptcy court.” Id. at 1534.

While the underlying bankruptcy case remains open the bankruptcy court has not

exercised its authority or followed through with its intended inquiry to the district

court in the course of the conduct of the adversary proceeding. As such review

related to the claims of the Appellants/Plaintiffs the bankruptcy court failed to do

so in its order and as such the order granting final judgment in the claims of

Appellants/Plaintiffs against Debtor BAYLESS should be remanded for
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Amendment after the district court’s determination of the issues referenced in

footnote 7.

D. The Appellees’ Notice of Removal included the counter-claims of RIDINGS

agains the Plaintiffs and the bankruptcy court’s Summary judgment order closing

the adversary proceeding also failed to address whether or not it retained

jurisdiction over such counter-claims. The bankruptcy court should have ruled

within its final judgment as to the status of these claims as well under the authority

of the Carter case. The bankruptcy court’s order is deficient in this regard as well -

it should be remanded for Amendment.

(9) CONCLUSION:

      This court, regardless of whether the Appellants/Plaintiffs did or are even

able to meet the high standard of showing excusable neglect in order to obtain the

reversal of the denial of its Motion for Leave to File a Late Appeal, still remand the

final judgment for amendment to address the Issues raised in sections C. and D. of

this Appeal.

      Respectfully submitted this 13th. day of September, 2021.


                                        By:/s/ William L. Colvin
                                        William L. Colvin
                                        Ga. Bar # 179705
                                        WILLIAM L. COLVIN, P.C.
                                        Attorney for Plaintiffs/Appellants
                                        QUICK RESPONSE FORCE, LLC and
                                        JOSHUA BROWN
                                        11080 Old Roswell Road
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                            Suite 201
                            Alpharetta, Ga. 30009
                            (404) 410-6202 (o)
                            (770) 679-8797 (f)
                            will@colvin.com
